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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                 Criminal Case No. 11-20481
             Plaintiff,
                                                 SENIOR U.S. DISTRICT JUDGE
 v.                                              ARTHUR J. TARNOW

 RAYNARD VERSATILE CROWE,

             Defendant.
                                       /


  OPINION AND ORDER GRANTING RAYNARD VERSATILE CROWE’S MOTION FOR
                      AN INDICATIVE RULING [326]

       On March 21, 2013, a jury found defendant-petitioner, Raynard Versatile

 Crowe, guilty of conspiracy, in violation of 18 U.S.C. § 371; bank robbery, in

 violation of 18 U.S.C. §§ 2113 and 2113(a); pharmacy robbery, in violation of 18

 U.S.C. §§ 2118 and 2118(b); using or carrying a firearm during a federal crime of

 violence, in violation of 18 U.S.C. §§ 924(c) and 924(c)(1)(A)(ii); and two counts

 of being a felon in possession of a firearm, in violation of 18 U.S.C. §§ 922(g) and

 924(a)(2). (ECF No. 159). Crowe was sentenced to 535 months imprisonment. (ECF

 No. 183). On April l6, 2019, the Court vacated its earlier sentence pursuant to 28

 U.S.C. § 2255. (ECF No. 282). On September 24, 2019, the Court resentenced



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 Crowe to 132 months in prison. (ECF No. 288). The Government’s appeal of that

 Order [282] is pending. (ECF No. 290).

       On August 20, 2020, Crowe filed a pro se Motion for Reduction of Sentence

 pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (ECF No. 303). On September 4, 2020,

 Crowe filed a Motion to Appoint Counsel. (ECF No. 306). The Court appointed

 counsel on September 15, 2020, ordered briefing, and set a hearing for October 7,

 2020. (ECF No. 309). On October 1, Crowe moved for an indicative ruling as to his

 Motion to Reduce Sentence [303] pursuant to FED. R. CRIM. P. 37. (ECF No. 315).

 The Court dismissed Crowe’s Motions [303, 315] for lack of exhaustion on October

 6, 2020 and cancelled the scheduled hearing. (ECF No. 319). On October 21, 2020,

 Crowe submitted a renewed Motion for an Indicative Ruling and Compassionate

 Release. (ECF No. 326). The Government responded on October 27, 2020. (ECF

 No. 328). Crowe replied on October 30, 2020. (ECF No. 329). The Court held a

 hearing on November 3, 2020.

       For the reasons stated on the record and below, Crowe’s Motion [326] is

 GRANTED. Accordingly, the Court indicates that, pursuant to FED. R. CRIM. P.

 37(a)(3), it would GRANT Crowe’s request for compassionate release if the Sixth

 Circuit remanded for that purpose.




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                                      BACKGROUND

       Crowe was born in Detroit, Michigan in 1981 and was primarily raised by his

 mother and grandmother. (PSR ¶ 62). Unfortunately, Crowe’s childhood was

 plagued by instability. Crowe switched elementary schools approximately fifteen

 times, leaving him with behavioral and adjustment issues. (PSR ¶ 64). These

 problems were exacerbated by physical abuse Crowe suffered at the hands of his

 mother, who whipped him when he got into trouble, as well as mental health issues.

 (PSR ¶¶ 62, 76-77). As a young child, Crowe often turned to his grandmother for

 support, but she passed away when he was eight. (Id.). By the time Crowe turned

 twelve, he had started running away from home and was selling and using drugs.

 (PSR ¶ 64).

       Crowe’s mother is no longer alive today; she passed away in 2005 from an

 accidental drug overdose. (PSR ¶ 63). Crowe’s father, whose addiction and

 incarceration caused him to be absent for much of Crowe’s childhood, has now been

 sober for more than a decade, and the two communicate regularly. (Id.). Crowe also

 remains close with two of his aunts, both of whom live near Detroit. (PSR ¶ 68-70).

       Crowe has spent the majority of his adult life in custody, starting with his

 placement in juvenile detention when he was fifteen. (PSR ¶ 65). Despite the serious

 nature of his current charges, his record is relatively short. In 1999, when he was

 seventeen, he was sentenced to nine to thirty years for armed robbery of a Burger
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 King. (PSR ¶ 53). Two years into that sentence, at age nineteen, he got in a fight

 with a plastic weapon, and his sentence was extended by one to five years. (PSR ¶

 54). He was paroled in 2009 and eventually re-incarcerated for the instant offense.

 (PSR ¶ 65). Crowe’s participation in the armed robberies for which he was convicted

 was serious. Crowe planned both the May 8, 2011 bank robbery and the July 11,

 2011 pharmacy robbery. (PSR ¶¶ 12-20). This included providing weapons and a

 vehicle, casing the bank, and serving as a lookout during the pharmacy robbery. (Id.).

       Crowe is currently thirty-eight years old, incarcerated at USP Terre Haute,

 and scheduled for release on April 30, 2021. Find an Inmate, FED. BUREAU PRISONS,

 https://www.bop.gov/mobile/find_inmate/index.jsp (BOP Register Number 49984-

 308) (last visited Nov. 1, 2020).

                                       ANALYSIS

       Section 3582(c)(1) of Title 18 of the U.S. Code, colloquially known as the

 compassionate release statue, provides, in relevant part:

       (A)    [T]he court, upon motion of the Director of the Bureau of
              Prisons, or upon motion of the defendant after the defendant has
              fully exhausted all administrative rights to appeal a failure of the
              Bureau of Prisons to bring a motion on the defendant's behalf or
              the lapse of 30 days from the receipt of such a request by the
              warden of the defendant's facility, whichever is earlier, may
              reduce the term of imprisonment (and may impose a term of
              probation or supervised release with or without conditions that
              does not exceed the unserved portion of the original term of
              imprisonment), after considering the factors set forth in section
              3553(a) to the extent that they are applicable, if it finds that—
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              (i)   extraordinary and compelling reasons warrant such a
                    reduction.
              [. . .]
              and that such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission . . . .

 18 U.S.C. § 3582(c)(1).


       A. Exhaustion

       Before a petitioner moves for compassionate release under 18 U.S.C. §

 3582(c)(1)(A)(i), they must either exhaust their administrative remedies with the

 BOP or wait thirty days from when they filed a request with their warden. United

 States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020). On September 21, 2020, after

 Crowe had been appointed counsel, he submitted to his warden a request for

 compassionate release or home confinement. (ECF No. 315-8, PageID.4071). The

 Government concedes that Crowe has now exhausted his administrative remedies

 with respect to the two medical conditions he raised in that request: latent

 tuberculosis and hyperlipidemia. (ECF No. 328, PageID.4321). Accordingly, “[t]he

 Court now has three questions to answer: first, whether extraordinary and

 compelling reasons warrant a reduction in sentence, second, whether [Crowe] poses

 a danger to the community, and third, whether a sentence reduction is consistent with

 the § 3553(a) factors.” Crider v. United States, No. 01-81028-1, 2020 U.S. Dist.

 LEXIS 133233, at *4 (E.D. Mich. July 28, 2020).

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       B. Extraordinary and Compelling Reasons for Release

       In order to ascertain whether there are extraordinary and compelling reasons

 to release Crowe, the Court must determine if a sentence reduction is “consistent

 with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

 § 3582(c)(1)(A). The Application Notes to the relevant policy statement provide the

 following:

       1. Extraordinary and Compelling Reasons.—Provided the
       defendant meets the requirements of subdivision (2), extraordinary and
       compelling reasons exist under any of the circumstances set forth
       below:
          (A) Medical Condition of the Defendant.—
                  (i) The defendant is suffering from a terminal illness (i.e., a
                       serious and advanced illness with an end of life trajectory).
                       A specific prognosis of life expectancy (i.e., a probability
                       of death within a specific time period) is not required.
                       Examples include metastatic solid-tumor cancer,
                       amyotrophic lateral sclerosis (ALS), end-stage organ
                       disease, and advanced dementia.
                  (ii) The defendant is—
                       (I) suffering from a serious physical or medical
                             condition,
                       (II) suffering from a serious functional or cognitive
                             impairment, or
                       (III) experiencing deteriorating physical or mental health
                             because of the aging process,
                  that substantially diminishes the ability of the defendant to
                  provide self-care within the environment of a correctional
                  facility and from which he or she is not expected to recover.
          [. . .]
          (D) Other Reasons.—As determined by the Director of the Bureau
          of Prisons, there exists in the defendant's case an extraordinary and
          compelling reason other than, or in combination with, the reasons
          described in subdivisions (A) through (C).
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 U.S.S.G. 1B1.13. Here, Crowe has presented “Other Reasons” in combination with

 “Medical Condition[s]” to warrant compassionate release.

       Crowe suffers from latent tuberculosis, a history of hyperlipidemia, and

 obesity. (ECF No. 314, PageID.3906-07; ECF No. 329, PageID.4345-46). As a

 preliminary matter, the Government’s issue-exhaustion argument—that the Court

 can consider latent tuberculosis and hyperlipidemia but cannot consider obesity,

 which was not raised in Crowe’s administrative request—makes no difference to the

 Court’s analysis. Several courts, including this one, have recognized latent

 tuberculosis as a condition that is alone sufficient to constitute extraordinary and

 compelling circumstances when coupled with the heightened risk of catching

 COVID-19 in prison settings. See, e.g., United States v. Watkins, No. 15-20333,

 2020 U.S. Dist. LEXIS 124937, at *5, 10 (E.D. Mich. July 16, 2020) (granting

 release despite the fact that the defendant had received treatment); United States v.

 Greene, No. 15-20709, 2020 U.S. Dist. LEXIS 142007, at *7-8 (E.D. Mich. Aug.

 10, 2020) (considering and rejecting the Government’s argument that the CDC

 guidelines do not include latent tuberculosis and collecting cases). Thus, while

 Crowe’s alternative arguments would have bolstered the Court’s conclusion that

 extraordinary and compelling circumstances are present, they are hardly necessary.



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       Like COVID-19, tuberculosis (“TB”) typically affects the lungs and is

 transmitted through airborne droplets. NAT’L CTR.        FOR   HIV/AIDS, VIRAL

 HEPATITIS, STD, & TB PREVENTION, TB ELIMINATION: THE DIFFERENCE BETWEEN

 LATENT       TB      INFECTION       AND       TB      DISEASE       1     (2011),

 https://www.cdc.gov/tb/publications/factsheets/general/LTBIandActiveTB.pdf

 [https://perma.cc/T2A8-JAWV]. A person who has latent TB has been infected by

 the TB bacteria, Mycobacterium tuberculosis, but has not yet developed full TB. Id.

 About half of those who develop TB do so within two years of being infected. Id.

 This statistic is particularly relevant for Crowe, who was diagnosed and prescribed

 medication within the last year. (ECF No. 314, PageID.3446). Moreover, as this

 Court explained in Watkins, “[Latent TB] may be a particularly dangerous condition

 to have in a prison, given that COVID-19 also targets the lungs.” 2020 U.S. Dist.

 LEXIS 124937, at *6; see also Padma Nagappan, COVID-19 Could Activate Latent

 Tuberculosis,       SDSU          NewsCenter         (Sept.       22,       2020),

 https://newscenter.sdsu.edu/sdsu_newscenter/news_story.aspx?sid=78173

 [https://perma.cc/S2J7-ZHZL].

       Crowe’s risk is further exacerbated by the current confirmed cases of COVID-

 19 at USP Terre Haute and the fact that his commissary job requires him to interact

 with more people than most inmates. (ECF No. 326-2, PageID.4273). At least three

 inmates are currently positive, and two have died. COVID-19 Coronavirus, FED.
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 BUREAU PRISONS, https://www.bop.gov/coronavirus/ [https://perma.cc/NXG7-

 VBCF] (last updated Nov. 3, 2020). Moreover, due to the BOP’s continued failure

 to test all of the inmates at USP Terre Haute, the outbreak may be even worse than

 is clear from these numbers. Compare id. (820 inmates tested), with USP Terre

 Haute, FED. BUREAU PRISONS, https://www.bop.gov/locations/institutions/thp/

 [https://perma.cc/4G48-FYR5] (1,241 inmates total). Accordingly, the Court

 reaches the same conclusion here that it did in Watkins:

       [R]egardless of whether latent TB can make a person more susceptible
       to catching COVID-19, if [Crowe] does catch it, the risks to someone
       with a co-infection of TB and COVID-19 “are readily apparent,” as
       both are respiratory diseases that affect the lungs. The Court is not
       willing to take that risk.

 2020 U.S. Dist. LEXIS 124937, at *6 (first alteration in original) (quoting United

 States v. Atwi, No. 18-20607, 2020 U.S. Dist. LEXIS 68282, at *5 (E.D. Mich. Apr.

 20, 2020)). Thus, the Court finds that there are extraordinary and compelling reasons

 for Crowe’s release.

 Dangerousness

       Federal Sentencing Guideline 1B1.13 provides for compassionate release only

 when “[t]he defendant is not a danger to the safety of any other person or to the

 community, as provided in 18 U.S.C. § 3142(g).” In arguing that Crowe remains

 dangerous, the Government relies primarily upon Crowe’s offense conduct, criminal


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 history, high-risk PATTERN score, and disciplinary history. (ECF No. 328,

 PageID.4336-37). The Court will examine each of these in turn.

       There is little question that at the time the Court imposed its original sentence

 in 2013, Crowe was dangerous. While on parole for a violent conviction, he had

 helped plan and carry out two armed robberies and had failed to meaningfully take

 responsibility for his conduct. (PSR ¶¶ 12, 14, 20, 23, 29, 42, 53-54). Today,

 however, he appears in many ways to be a success story for the BOP. At his hearing

 on November 3, 2020, Crowe persuasively testified as to the extent of his

 rehabilitation over the last several years. In particular, Crowe’s demeanor as he

 spoke about overcoming his criminal patterns of thinking through the eighteen-

 month Life Connections Program gives the Court confidence that, moving forward,

 he will be able to lead a life free from crime.

       Although this was not Crowe’s first conviction, the Court is mindful that, with

 the exception of the instant offense, the entirety of Crowe’s criminal history stems

 from convictions he received as a teenager. (PSR ¶¶ 53-54). Given the well-accepted

 differences between juvenile and adult brains, the Court does not find these prior

 bad acts to be a reliable barometer of Crowe’s danger moving forward. See, e.g.,

 Graham v. Flordia, 560 U.S. 48, 68 (2010) (“[D]evelopments in psychology and

 brain science continue to show fundamental differences between juvenile and adult

 minds. . . . Juveniles are more capable of change than are adults, and their actions
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 are less likely to be evidence of ‘irretrievably depraved character’ than are the

 actions of adults.” (quoting Roper v. Simmons, 543 U.S. 551, 570 (2005))).

       The Court reaches a similar conclusion with respect to Crowe’s PATTERN

 score. Although the BOP has rated Crowe a “high risk” of recidivism, “this

 assessment is hardly infallible.” United States v. Rodgers, No. 11-20481, 2020 U.S.

 Dist. LEXIS 203475, at *9 (E.D. Mich. Nov. 2, 2020). As this Court has previously

 noted, the “use of PATTERN [in the context of COVID-19 release decisions] is

 likely to contribute to significant unjustified racial disparities.” Id. (quoting P’SHIP

 ON AI, ALGORITHMIC RISK ASSESSMENT           AND   COVID-19: WHY PATTERN SHOULD

 NOT      BE       USED       1     (2020),        https://www.partnershiponai.org/wp-

 content/uploads/2020/04/Why-PATTERN-Should-Not-Be-Used.pdf

 [https://perma.cc/2LNP-QXM9]). The Government argues against this conclusion,

 noting that the BOP “modified PATTERN [following a public commentary period]

 to ensure its fairness and accuracy.” (ECF No. 328, PageID.4333). But the report it

 cites on the revised PATTERN tool “provides no insight into whether the changes

 served to decrease disparities.” P’SHIP ON AI at 3. Indeed, the PATTERN tool “has

 yet to be independently validated, as required by the First Step Act.” Letter from

 Jerrold Nadler, Chairman, House Judiciary Comm. & Karen Bass, Chair, Subcomm.

 on Crime, Terrorism, and Homeland Sec., to William P. Barr, Att’y Gen., U.S. Dep’t

 of                Just.                (Mar.                 30,                 2020),
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 https://judiciary.house.gov/uploadedfiles/3.30.20_letter_to_ag_barr_re_covid19.pd

 f [https://perma.cc/B7EU-94LB]; accord Brandon L. Garrett & Megan Stevenson,

 Open Risk Assessment, 38 BEHAV. SCIS. & L. 279, 280 (2020). Finally, the use of the

 PATTERN tool appears to be particularly problematic for men of Crowe’s age. See

 P’SHIP ON AI at 4 (“Age and criminal history are the most heavily weighed factors

 in PATTERN score calculation. . . . If a male inmate also has past convictions, he

 would be unlikely to receive a minimum risk classification [under the revised version

 of PATTERN] unless he is over the age of 40.”). Accordingly, the Court declines to

 find Crowe dangerous on account of his PATTERN score.

       Lastly, Crowe’s conduct in prison, taken as a whole, confirms the Court’s

 conclusion that he is not dangerous. While Crowe has had three disciplinary

 incidents over the last nine years, he has been free of discipline at this point for more

 than two years. (ECF No. 326-8, PageID.4284). Moreover, his last violent incident,

 in early 2015, stemmed from a fight in which he was attacked by another inmate and

 defended himself while trying to get away. (ECF No. 326-9, PageID.4286).

 Weighing against Crowe’s disciplinary record are his accomplishments in prison. In

 addition to Life Connections, a 935-hour residential program that focuses on

 personal accountability, conflict management, addiction, and morality over the

 course of eighteen months, Crowe has completed the Drug Education Course, a

 number of vocational classes, and has been assigned to work in commissary, a
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 position requiring a significant level of trust. See (ECF No. 326-2, PageID.4273-74;

 ECF No. 326-4, PageID.4277; ECF No. 326-5, PageID.4278); MARY M. MITCHELL,

 FED.    BUREAU     PRISONS,      LIFE   CONNECTIONS      PROGRAM      3-6    (2013),

 https://www.bop.gov/policy/om/002_2012.pdf          [https://perma.cc/83FR-KFQA].

 These accomplishments, combined with the family support and detailed re-entry

 plan Crowe testified to at the hearing, persuade the Court that Crowe will not pose a

 danger upon release.

        Section 3553(a) Factors

        The last step a District Court contemplating a motion for compassionate

 release must take is to consider the sentencing factors provided by 18 U.S.C. §

 3553(a). Those are as follows:

        (a) Factors to be considered in imposing a sentence. The court shall
            impose a sentence sufficient, but not greater than necessary, to
            comply with the purposes set forth in paragraph (2) of this
            subsection. The court, in determining the particular sentence to be
            imposed, shall consider—
            (1) the nature and circumstances of the offense and the history and
                characteristics of the defendant;
            (2) the need for the sentence imposed—
                (A) to reflect the seriousness of the offense, to promote
                      respect for the law, and to provide just punishment for
                      the offense;
                (B) to afford adequate deterrence to criminal conduct;
                (C) to protect the public from further crimes of the
                      defendant; and
                (D) to provide the defendant with needed educational or
                      vocational training, medical care, or other correctional
                      treatment in the most effective manner;
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             (3) the kinds of sentences available;
             (4) the kinds of sentence and the sentencing range established
                 for—
      `          (A) the applicable category of offense committed by the
                         applicable category of defendant as set forth in the
                         guidelines—
                 [. . .]
             (5) any pertinent policy statement—
                 [. . .]
             (6) the need to avoid unwarranted sentence disparities among
                 defendants with similar records who have been found guilty of
                 similar conduct; and
             (7) the need to provide restitution to any victims of the offense.

          The Court’s consideration of these factors is demonstrated both in this

 opinion’s analysis of U.S.S.G. 1B1.13 and on the record of the November 3, 2020

 hearing.

          As the Court has already recognized, Crowe’s crimes were incredibly serious,

 however, they were not committed in a vacuum. Crowe has been ensnared in the

 criminal legal system since the age of fifteen. (PSR ¶ 65). In many ways, the

 seriousness of the instant offenses reflects the fact that institutionalization from such

 a young age, rather than providing rehabilitation, often has a criminogenic effect.

 See, e.g., ANTHONY PETROSINO ET AL., FORMAL SYSTEM PROCESSING OF JUVENILES:

 EFFECTS       ON    DELINQUENCY       (2010),     http://www.njjn.org/uploads/digital-

 library/resource_1478.pdf [https://perma.cc/ZX8B-86YM]. In any case, Crowe has

 had nearly a decade in prison to reflect upon the seriousness of his crimes. His

 accomplishments while incarcerated, combined with his demeanor and testimony at
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 the hearing, persuade the Court that he has taken that opportunity seriously and that

 the time he has served is sufficient, but not greater than necessary, to teach him

 respect for the law, to protect the public, and to deter him from future criminal

 activity. Additionally, the Court finds that any deterrent effect Crowe’s sentence

 may have had on others was felt at the time Crowe was apprehended and will not be

 diminished by modification of his sentence.

       When the Court resentenced Crowe in September of 2019, it did so with the

 hope that he would participate in the Residential Drug Abuse Program (“RDAP”)

 prior to completing his sentence. (ECF No. 289, PageID.3193-94). Crowe turned out

 to be ineligible for RDAP, however, due to his crimes of conviction. Accordingly,

 the Court finds that there is little to be gained by keeping him in prison for another

 five months, particularly considering his health conditions and the absence of

 available programming. The Government argues that, in light of its pending appeal

 of the Court’s Order [282] vacating Crowe’s sentence, it is inappropriate for the

 Court to rely on the fact that Crowe only has five months in prison remaining. But

 the Government’s argument fails to recognize that even if the Sixth Circuit were to

 reverse the Court’s Order [282], compassionate release would still be appropriate

 under the § 3553(a) factors in light of “the disparity between [Crowe’s] ‘stacked’

 sentence and the one he would have received if sentenced after the passage of the

 First Step Act.” United States v. McClellan, No. 1:92 CR 268, 2020 U.S. Dist.
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 LEXIS 97136, at *8 (N.D. Ohio June 3, 2020); see United States v. Alexander, No.

 1:04 CR 529, 2020 U.S. Dist. LEXIS 198264, at *10 (N.D. Ohio Oct. 26, 2020)

 (“While the change in law is not retroactive, . . . a sentencing disparity, along with

 additional factors, may justify compassionate release in certain cases.”).

       When Crowe appeared before the Court at his first sentencing hearing on June

 26, 2013, the Court expressed concern that he had not come close to accepting

 responsibility:

       It’s not often where I make a finding of continuing dangerousness. And
       until you see the light -- and it may happen in your second year of
       prison; it may happen in your tenth year of prison -- that you actually
       have control over these decisions and you have to make the right
       decisions, you are a danger to the community.

 (ECF No. 200, PageID.2029). Now, nearly ten years on, Crowe has undergone

 dramatic changes. He has accepted responsibility for his crimes, addressed his

 substance abuse and criminal thinking patterns, and formed a plan to become a

 productive member of society. In other words, as far as this Court can tell, he appears

 to have “see[n] the light.” (Id.). Accordingly, the Court finds a sentence reduction to

 time served appropriate under the § 3553(a) factors.

                                     CONCLUSION

       IT IS ORDERED that Crowe’s Motion for an Indicative Ruling and

 Compassionate Release [326] is GRANTED. The Court INDICATES that,

 pursuant to FED. R. CRIM. P. 37(a)(3), it would GRANT relief under 18 U.S.C. §
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 3582(c)(1)(A)(i) and reduce Crowe’s sentence to time served if the Court of Appeals

 remanded for that purpose.

       SO ORDERED.

                                       s/Arthur J. Tarnow
                                       Arthur J. Tarnow
 Dated: November 6, 2020               Senior United States District Judge




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